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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CABLE NEWS NETWORK, INC. and ABILIO
 JAMES ACOSTA,


        Plaintiffs,

 v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; JOHN F. KELLY, in
 his official capacity as Chief of Staff to the President
 of the United States; WILLIAM SHINE, in his
 official capacity as Deputy Chief of Staff to the         Case No.
 President of the United States; SARAH HUCKABEE
 SANDERS, in her official capacity as Press Secretary EMERGENCY HEARING
 to the President of the United States; the UNITED        REQUESTED FOR TODAY
 STATES SECRET SERVICE; RANDOLPH ALLES, OR TOMORROW
 in his official capacity as Director of the United
 States Secret Service; and JOHN DOE, Secret
 Service Agent, in his official capacity,

        Defendants.


        PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

       Plaintiffs Cable News Network, Inc. (“CNN”) and Abilio James (“Jim”) Acosta hereby

request, pursuant to Fed. R. Civ. P. 65(b) and Local Rule 65.1, that this Court issue a temporary

restraining order requiring Defendants to rescind the revocation of Mr. Acosta’s White House

press credentials and immediately restore Mr. Acosta’s credentials to him. Alternatively,

Plaintiffs request that this Court, at a minimum, require Defendants to restore Mr. Acosta’s

credentials pending due process, including but not limited to a formal written explanation of

Defendants’ justification as to why the pass is being suspended and an opportunity for Mr.

Acosta to respond to those allegations before a neutral arbiter, in advance of any revocation.
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       A temporary restraining order is warranted here. Plaintiffs are likely to succeed in

establishing that Defendants have violated, and continue to violate, Plaintiffs’ rights under the

First and Fifth Amendments of the U.S. Constitution and the Administrative Procedure Act. The

law is clear: As the D.C. Circuit has held, “the protection afforded newsgathering under the first

amendment guarantee of freedom of the press requires that this access [to White House press

facilities] not be denied arbitrarily or for less than compelling reasons.” Sherrill v. Knight, 569

F.2d 124, 129 (D.C. Cir. 1977). And “notice . . . of the factual bases for denial [of access to

White House press facilities] with an opportunity to rebut is a minimum prerequisite for ensuring

that the denial is . . . [not] based on arbitrary or less than compelling reasons.” Id. at 131. The

government complied with none of these safeguards here, stripping Acosta of his credentials and

White House access with no process whatsoever, in violation of the First Amendment and the

Due Process Clause.

       The harm is immediate and ongoing. Due to the exigency of the circumstances and the

irreparable nature of the injury the temporary restraining order would prevent, Plaintiffs request a

hearing on their temporary restraining order on Tuesday, November 13, 2018, and no later than

Wednesday, November 14, 2018. The Defendants continue to violate Plaintiffs’ rights. For

example, on the Sunday after Defendants revoked Acosta’s credentials, the Defendants denied

him access to cover the “open” press event during the President’s trip to France on the one

hundredth anniversary of the end of World War One even though Acosta was present and had a

French government-issued press pass. Every day that passes without Acosta regaining his press

credentials is a concrete injury. See Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion)

(“The loss of First Amendment ‘freedoms’ . . . unquestionably constitutes irreparable injury.”);




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Pursuing Am.’s Greatness v. Fed. Elec. Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016) (First

Amendment violations “for even minimal periods of time” constitute irreparably injury).

       This Court should issue a temporary restraining order to preserve the rights of the parties

pending a resolution of this matter on the merits. As explained at greater length in the

accompanying memorandum, the balance of equities and the public interest favors granting the

temporary restraining order. Plaintiffs therefore request that this Court issue an temporary

restraining order immediately requiring Defendants to rescind the revocation of Acosta’s press

credentials and restore them to him until Plaintiffs’ motion for a preliminary injunction is

decided.


 Dated: November 13, 2018                            Respectfully submitted,

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                                                     Inc., and Abilio James Acosta




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